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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA

                                       Alexandria Division

Sami Debizet                                 )
                                             )
        Plaintiff,                           )
                                             )
v.                                           )       Civil Action No. _________
                                             )
81.com an Internet domain name,              )
                                             )
and John Doe,                                )
                                             )
        Defendants.                          )

                                       Verified Complaint

        Comes Now the Plaintiff, Sami Debizet (hereinafter “Debizet”), by and through his

counsel, and files this complaint against John Doe and 81.com (Defendant Domain Name).

I.          Nature of The Suit

     1. The Plaintiff is seeking to recover its valuable domain name and seeks (1) a Declaratory

Judgment as to the ownership of the Defendant Domain Name, (2) asserts in rem claims under

the Anti-cybersquatting Consumer Protection Act, 15 U.S.C. § 1125(d), under 28 U.S.C. §

1655, and Virginia common law (3) Tortuous Interference with Contractual Relationship (4)

Trespass to Chattels, Computer Trespass and Conversion, and in personam claims under (5) the

Computer Fraud and Abuse Act, 18 U.S.C. § 1030, (6) the Electronic Communications Privacy

Act, 18 U.S.C. §§ 2701, 2707, and Virginia common law, arising from the unauthorized access

to Plaintiff’s secured computer account and the unauthorized transfer and theft of the 81.com

domain name (the “Defendant Domain Name”).


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      2. Plaintiff seeks injunctive and other equitable relief as a result of the actions of a person of

unknown identity who gained unauthorized access to Plaintiff’s domain name management

account on a protected computer, transferred control of the Defendant Domain Name from

Plaintiff’s account, and thereby disabled Plaintiff’s control of the Defendant Domain Name

causing irreparable injury to Plaintiff.

II.          Jurisdiction and Venue

      3. This action arises out of Doe’s violation of the Anti-cybersquatting Consumer Protection

Act, 15 U.S.C. § 1125(d) and the Computer Fraud and Abuse Act, 18 U.S.C. § 1030, the

Electronic Communications Privacy Act, 18 U.S.C. §§ 2701, 2707, and related claims under the

common law of Virginia.

      4. This Court has original jurisdiction pursuant to 15 U.S.C. § 1121(a) and 28 U.S.C. §§

 1331 and 1338(a) and has in rem jurisdiction over the Defendant Domain Name pursuant to 15

 U.S.C. § 1125(d)(2)(A) as the registry for the Defendant Domain Name, Verisign, is located

 within this judicial district. The Court has subject matter jurisdiction over this action pursuant

 to 28 U.S.C. §1331 because this action arises out of Defendants' violation of the Federal

 Computer Fraud and Abuse Act (18 U.S.C. § 1030), Electronic Communications Privacy Act

 (18 U.S.C. § 2701), and the Lanham Act (15 U.S.C. §§ 1114, 1125). The Court also has

 subject matter jurisdiction over Debizet's claims for trespass to chattels, conversion, and

 intentional interference with contractual relationships pursuant to 28 U.S.C. § 1367.

      5. Venue is proper in this district pursuant to 15 U.S.C. § 1125(d)(2)(C) as the subject

registry, Verisign has its principal place of business in this judicial district.



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       6. Venue is further proper pursuant to 28 U.S.C. § 1391(b)(2) as the subject of the action,

the domain name, is located in this judicial district.

       7. Defendant Doe directed the acts complained of towards the district and utilized

instrumentalities in the district in that he gained unauthorized access to the Defendant Domain

Name and thereafter, without authorization, caused the Domain Name’s registration record,

maintained by GoDaddy and recorded in Verisign’s records in Virginia for the Defendant

Domain Name to be altered so as to transfer control of the Defendant Domain Name away from

the Plaintiff.

       8. The Declaratory Judgment Act, 28 U.S.C. § 2201 provides for a declaration of the rights

of the Plaintiff in this matter.

III.          Notice

       9. Pursuant to the Anti-cybersquatting Consumer Protection Act, 15 U.S.C. §

 1125(d)(2)(A)(ii)(II)(aa), notice of filing of this complaint is being sent to the Defendant at the

 postal addresses and email addresses provided on the current WHOIS records as set forth above,

 along with a request to waive service pursuant to Federal Rule of Civil Procedures 4(d).

       10. The Plaintiff is providing such notice contemporaneously with the filing of this

Complaint. Pursuant to 15 U.S.C. § 1125(d)(2)(A)(ii)(II)(bb), the Plaintiff will promptly

publish notice of this action as the Court may direct after filing of this Complaint.

       11. The Plaintiff’s claim for violation of the Computer Fraud and Abuse Act, and the

Court’s jurisdiction over the alternative claim, are proper pursuant to 15 U.S.C. § 1125(d)(3) and

(4).



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      12. Joinder of the Defendant Domain Name is proper under Federal Rule of Civil Procedure

20(a)(2) in that the claims set forth herein arise out of the same set of operative facts and the

questions of law are common as to all claims and Defendants.



IV.          Parties

      13. The Plaintiff, Sami Debizet (hereinafter “Debizet”) is an individual with a primary

address of Springs 6 street 7 villa 4, Dubai Media City, Dubai. Mr. Debizet was, and is, the

rightful owner of the Defendant Domain Name.

      14. The Defendant 81.com is a .COM tld (top level domain) which is controlled by

Verisign, Inc., which has a primary address of 12061 Bluemont Way, Reston, Virginia 20190

which is within this Court’s judicial district.

      15. Defendant John Doe (Hereinafter “Doe”) is a person of unknown identity who gained

unauthorized access to Debizet’s protected domain name management account and, without

consent or authority, transferred control of Defendant Domain Name away from Debizet.

V.       Factual Background

      16. The Plaintiff acquired the Defendant Domain Name on May 7, 2013 for $360,000 and

is, and always has been, the sole legal registrant of the Defendant Domain Name. (See Exhibit 1,

Declaration of Sami Debizet (hereinafter Debizet Dec); see also Exhibit to Debizet Decl,

Godaddy purchase receipt.)

      17. The Plaintiff intended to use the Defendant Domain Name for the purpose of publishing

a news site, began creation of the news site but, before he could complete the site, the Defendant

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Domain Name was stolen. (See Debizet Dec. ¶¶ 8 & 9).

     18. The Plaintiff did not sell or transfer the Defendant Domain Name to Doe or any other

third party. (See Debizet Dec. ¶¶ 6 & 7.)

     19. The Plaintiff, upon learning of the theft of his domain name attempted to recover it

through the registrar, GoDaddy, without success. (See Debizet Decl. Dec. ¶ 10.)

     20. The Defendant Domain Name is extremely valuable and its loss has deprived the

Plaintiff of both the Defendant Domain Name and the income revenue which would have been

generated by the business.

     21. Defendant Doe has taken control of the Defendant Domain Names with the intent to

divert the revenue produced by the Defendant Domain Name to himself.

     22. Defendant Doe’s registration and use of the Defendant Domain Name is without the

Plaintiff’s authorization.

     23. Defendant Doe has no intellectual property rights in the Defendant Domain Name.

     24. Defendant Doe provided misleading or incomplete contact information in the Domain

Name’s registration when changing the registration for the Defendant Domain Names.

     25. Defendant Doe’s actions are in violation of these aforementioned rights of Plaintiff.

V.          Causes of Action
                                             Count I
                                  Claim for Declaratory Judgment

     26. The Plaintiff repeats and realleges the previous paragraphs as if set forth in full.

Plaintiff had registered the Defendant Domain Name as alleged above and has, since that time,

maintained uninterrupted control over the Defendant Domain Name until stolen by Defendant

Doe.

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    27. Defendant's actions have taken control of the Defendant Domain Name from Plaintiff

without authorization or permission.

    28. The Declaratory Judgment Act, 28 U.S.C. § 2201, provides for a declaration of the

rights of the Plaintiff in this matter.

                                                 Count II
                           Anti-cybersquatting Consumer Protection Act (ACPA)
                                          15 U.S.C. § 1114(2)(d)

    29. The Plaintiff repeats and realleges the previous paragraphs as if set forth in full.

    30. The Plaintiff has owned the Defendant Domain Name since May 7, 2013, has used it in

commerce and has common law rights in the 81.com mark.

    31. Defendant’s actions constitute registration, trafficking, or use of a Domain Name that is

confusingly similar to the Plaintiff's trademark, with bad faith intent to profit therefrom.

    32. The Plaintiff, because of Defendant’s actions, is being prevented from using and

exercising control over the Defendant Domain Name (81.com).

    33. The Plaintiff is being harmed through the loss of revenue, loss of business and loss of

business opportunities unless enjoined.

    34. The Plaintiff, despite diligent inquiry, has been unable to obtain the accurate location of

Defendant for any Court's jurisdiction in a civil action pursuant to 15 U.S.C §

1125(d)(2)(A)(i)(I).

    35. The above described conduct of Defendant Doe, registrant of the Defendant Domain

Names, constitutes unlawful cybersquatting in violation of the Anti-cybersquatting Consumer

Protection Act, 15 U.S. C. § 1125(d)(1).

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    36. The above described conduct by Defendant has caused, and is causing, great and

irreparable harm to the Plaintiff and the public. Unless permanently enjoined by this Court, said

irreparable harm will continue. Accordingly, pursuant to 15 U.S. C. § 1125(d)(2)(D)(I), the

Plaintiff is entitled to an order transferring the registration of the Defendant Domain Name to the

Plaintiff.

                                              Count III
                   Violation of the Computer Fraud and Abuse Act 18 U.S.C. § 1030

    37.      The Plaintiff repeats and realleges the previous paragraphs as if set forth in full.

    38.      Defendant Doe knowingly and intentionally accessed the Plaintiff's hosting account and

registrar account on protected computers exceeding his authorization and thereby obtained and

used information from the protected computer systems in multiple transactions involving

interstate and foreign communication in violation of 18 U.S.C. § 1030(a)(2)(c).

    39. Defendant Doe knowingly, and with intent to take Plaintiff’s revenue and business,

accessed the Plaintiff's email system on a protected computer exceeding his authority and used

the access to transfer all of Plaintiff’s assets to himself in violation of 18 U.S.C. § 1030(a)(4).


    40. Defendant Doe’s conduct complained of herein caused the registration records

maintained by Verisign on a protected computer system in this District to be altered transferring

control of the Defendant Domain Name from the Plaintiff to Defendant Doe in violation of the

Plaintiff’s rights.

    41. Defendant Doe intentionally accessed the Plaintiff's registrar without authorization and

as a result of such conduct caused damage and loss in violation of 18 U.S.C. § 1030(a)(5)(c).

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   42.   The Plaintiff has suffered damages as a result of the conduct complained of and such

conduct has caused a loss to the Plaintiff aggregating to at least $100,000 that being the value of

the Defendant Domain Name.

   43.   As a direct result of the actions complained of, the Plaintiff has suffered, and continues

to suffer, irreparable harm for which the Plaintiff has no adequate remedy at law and which will

continue unless enjoined.

                                                 Count IV
                            Tortuous Interference with Contractual Relationship

   44. The Plaintiff repeats and realleges the previous paragraphs as if set forth in full. The

Plaintiff properly entered into contracts with the registrar for the Defendant Domain Name and

for the hosting of the website for the Defendant Domain Name, before the Defendant Domain

Name was stolen.

   45. Defendant has unlawfully taken control of the Defendant Domain Name, interfering

with Plaintiff's lawful contract rights to the Defendant Domain Name.

   46. As a result of the Defendant's acts, the Plaintiff has been damaged and will continue to

be damaged. The Plaintiff requests that this Court declare Defendant liable for its past and any

future losses in association with the registration and hosting service contract.


                                            Count V
                    Trespass to Chattels, Computer Trespass and Conversion

   47. The Plaintiff repeats and realleges the previous paragraphs as if set forth in full.

   48. Plaintiff has property rights in the Defendant Domain Name.

   49. Defendant Doe has taken control of the Defendant Domain Name and is wrongfully

exercising control and authority over the Defendant Domain Name.
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   50. The control and authority exercised by Defendant Doe deprives the Plaintiff of control

and the revenue and business generated from the Defendant Domain Name.

   51. Defendant Doe is wrongfully exerting dominion and possession over the Plaintiff's

property in denial of his rights and is intermeddling with the Plaintiff’s property rights.

   52. To the extent that Defendant Doe has transferred the Defendant Domain Name, the

transferee’s wrongful exercise of dominion and control over the Plaintiff’s Domain Name

deprives the Plaintiff of the use and control of his domain name.

   53. The Plaintiff has suffered damages, including the loss of the Defendant Domain Name,

as the result of Defendant Doe’s conduct and is entitled to injunctive relief, actual, statutory

and/or punitive damages as well as attorney’s fees.



                                            Count VI
                    Violation of the Electronic Communications Privacy Act

   54. The Plaintiff repeats and realleges the previous paragraphs as if set forth in full.

   55. On information and belief, Defendant Doe intentionally, accessed without authorization,

electronic communications sent by the domain name registrar to Debizet seeking Debizet’s

approval for the transfer of the Defendant Domain Name.

   56.   On information and belief, Defendant Doe obtained such electronic communications

and/or prevented Debizet’s authorized access to such electronic communications while the

communications were in electronic storage.

   57. Defendant Doe engaged in such actions with a knowing and/or intentional state of mind,

and such actions constitute a violation of the Electronic Communications Privacy Act, 18 U.S.C.

§§ 2701, 2707.
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       58. The Plaintiff has suffered damages including the loss of the Defendant Domain Name as

   a result of the conduct complained of herein and is entitled to injunctive relief, actual, statutory,

   and/or punitive damages, and attorney’s fees under the Electronic Communications Privacy Act.

       59. To the extent that Defendant Doe has subsequently transferred the Defendant Domain

   Name to a person or persons other than Defendant Doe, such other person’s wrongful exercise of

   dominion and control over the Defendant Domain Name deprives the Plaintiff of use and control

   of the Defendant Domain Name in violation of the Plaintiff’s rights in and to the Defendant

   Domain Name.

                                                  Count VII
                                                  Quiet Title

       60. The Plaintiff repeats and realleges the previous paragraphs as if set forth in full.

       61. The Plaintiff has valid legal and equitable title to the Defendant Domain Name based on

   his purchase and registration of the Defendant Domain Name.

       62. The Defendant Domain Name was stolen from the Plaintiff and no subsequent registrant

   may acquire valid title to the domain name, whether or not any such registrant claims to be a

   bone fide purchaser.

       63. Defendant Doe has, through his control of the Defendant Domain Name, asserted a

   claim that impedes the Plaintiff’s ownership and control of the Defendant Domain Name and

   constitutes a cloud on the Plaintiff’s title to the Defendant Domain Name.

           WHEREFORE, The Plaintiff respectfully requests of this court:

1. That judgment be entered in favor of the Plaintiff on his in rem claims under the Anti-

   cybersquatting Consumer Protection Act, 28 U.S.C. § 1655, and for quiet title against the res

   Defendant 81.com.
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2. That judgment be entered in favor of the Plaintiff on his in personam claims under the Computer

     Fraud and Abuse Act, the Electronic Communications Privacy Act, and for Conversion against

     Defendant Doe.

3. That the Court order the Defendant Domain Name be returned to the Plaintiff through VeriSign,

     Inc.’s transfer of the domain name from the current domain name registrar to Debizet’s registrar

     of choice, GoDaddy (if not already at Godaddy) and to change the registrant back to Sami

     Debizet.

4. Enter an order declaring that Sami Debizet is the only entity with any rights to the control

     controlling the Defendant Domain Name 81.com;

5. Enter an order declaring that Defendant Doe does not have any rights to the Defendant Domain

     Name 81.com;

6. Enter an order directing that the Defendant Domain Name 81.com be promptly transferred to the

     Plaintiff;

7.    Enter an Order directing Verisign to promptly return control of the Defendant Domain Name,

     81.com, to the Plaintiff and the registrar as directed by counsel for the Plaintiff;

8. That the Court order an award of actual, statutory, and/or punitive damages, costs and reasonable

     attorney’s fees; and

9. That the Court order an award to the Plaintiff of such other and further relief as the Court may

     deem just and proper.




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Date: 9/16/19

                                                     Respectfully Submitted,
                                                     Sami Debizet
                                                     By Counsel


___________________
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                                           Verification

       I, Sami Debizet declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that I am

Sami Debizet and am the original owner of the Defendant Domain Name listed above and the

facts contained in the foregoing verified complaint are true and correct to the best of my

knowledge, information and belief.


_9/16/19__                                           _______________________
Date                                                       Sami Debizet




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